













NUMBER13-06-077-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


 ______________________________________________________________ _ _


DARLA LEE,	Appellant,


v.



JAMES R. LEE,	Appellee.

_____________________________________________________________   ___


On appeal from the 28th District Court


of Nueces County, Texas.


_____________________________________________________________   ___


MEMORANDUM OPINION



Before Justices Yañez, Rodriguez, and Garza


Memorandum Opinion Per Curiam



	Appellant, DARLA LEE, perfected an appeal from a judgment entered by the  
28th District Court of Nueces County, Texas, in cause number 03-4491-A.  The
clerk's record was filed on March 22, 2006.  The reporter's record was filed on
August 1, 2006.  Appellant's brief was due on August 31, 2006.  To date, no
appellate brief has been received.

	When the appellant has failed to file a brief in the time prescribed, the Court
may dismiss the appeal for want of prosecution, unless the appellant reasonably
explains the failure and the appellee is not significantly injured by the appellant's failure
to timely file a brief.  Tex. R. App. P. 38.8(a)(1).

	On September 14, 2006, notice was given to all parties that this appeal was
subject to dismissal pursuant to Tex. R. App. P. 38.8(a)(1).  Appellant was given ten
days to explain why the cause should not be dismissed for failure to file a brief.  To
date, no response has been received.

	The Court, having examined and fully considered the documents on file,
appellant's failure to file a proper appellate brief, this Court's notice, and appellant's
failure to respond, is of the opinion that the appeal should be dismissed for want of
prosecution.  The appeal is hereby DISMISSED FOR WANT OF PROSECUTION.

								PER CURIAM

Memorandum Opinion delivered and filed

this the 2nd day of November, 2006.





